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  9                            UNITED STATES DISTRICT COURT
 10                        SOUTHERN DISTRICT OF CALIFORNIA
 11
 12    UNITED STATES OF AMERICA,                                CIVIL CASE NO. 06CV1600 J
                                                                CRIM CASE NO. 04CR0504 J
 13                           Plaintiff/Respondent,
              v.                                                ORDER FURNISHING
 14                                                             TRANSCRIPTS TO
                                                                PETITIONER PURSUANT TO
 15                                                             28 U.S.C. § 753(f)
       CARMEN VIDALES-TORRES,
 16
                              Defendant/Petitioner.
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 18
 19          Before the Court is pro se Petitioner Carmen Vidales-Torres’ 28 U.S.C. § 2255
 20   Petition for Writ of Habeas Corpus. [Doc. No. 256.] On September 18, 2006, Respondent
 21   United States timely filed a Response and Opposition to the Petition. [Doc. No. 273.]
 22          Upon review of the documents submitted, it is apparent that the Court cannot
 23   address the instant Petition without transcripts of Petitioner’s disposition hearing or
 24   sentencing proceedings. Fees for transcripts furnished to § 2255 petitioners who proceed in
 25   forma pauperis “shall be paid by the United States out of money appropriated for that
 26   purpose if the trial judge or a circuit judge certifies that the suit or appeals is not frivolous
 27   and that the transcript is needed to decide the issue presented by the suit or appeal.” 28
 28   U.S.C. § 753 (f). Because the transcripts of Petitioner’s disposition hearing and sentencing


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  1   proceedings are essential to disposition of this case, the Court construes Petitioner’s
  2   Petition as a request for these transcripts. The Court certifies that the Petition is not
  3   frivolous and that the transcripts are needed to decide the issues presented by the Petition.
  4          Therefore, the Court ORDERS that the fees for transcripts of Petitioner’s
  5   disposition hearing and sentencing proceedings shall be paid by the United States out of
  6   money appropriated for that purpose pursuant to 28 U.S.C. § 753 (f).
  7          IT IS SO ORDERED.
  8
  9   DATED: November 9, 2006
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                                                    HON. NAPOLEON A. JONES, JR.
 11                                                 United States District Judge
 12
 13   cc:    All Parties
 14          Court Reporter Joan King
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